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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ARIZONA

United States of America,                         )       CR 4:22-cr-00462-JGZ-LAB
                                                  )
                Plaintiff,                        )            WAIVER OF PERSONAL
                                                  )       APPEARANCE AT ARRAIGNMENT
vs.                                               )                 AND
                                                  )       ENTRY OF NOT GUILTY PLEA
Brian Tackett                                 ,   )                 AND
                                                  )            ACKNOWLEDGMENT OF
                Defendant.                        )       TRIAL DATE AND PLEA DEADLINE;
                                                  )       AVOWAL OF DEFENSE COUNSEL
                                                  )

Defendant’s attorney undersigned, avows that counsel has discussed all the following with Defendant and
further avows that both Defendant and Defendant’s attorney agree:

(1) Defendant’s attorney has provided or reviewed with the Defendant a copy of the Indictment;
(2) Defendant’s attorney has explained to the Defendant the nature and substance of the charge(s), the
maximum penalties applicable to the charge(s), and Defendant’s constitutional rights;
(3) Defendant understands there is a right to appear personally at the arraignment to be advised of the
charge(s). Defendant also understands that the execution of this waiver results in a waiver of the right to
appear at the arraignment;
(4) Defendant’s attorney is authorized to appear at the arraignment on behalf of the Defendant.
Defendant’s attorney shall enter a plea of not guilty at the arraignment on Defendant’s behalf.

Defendant, having conferred with the attorney of record, waives personal appearance and the reading of
the Indictment at arraignment in this case. Defendant authorizes the entry of a not guilty plea on behalf of
Defendant.

Defendant further waives personal notice of the date of trial and acknowledges that the trial will be on
 May 17, 2022 at 9:30 a.m. with a plea deadline of April 29, 2022            before the paired Magistrate
Judge. Defendant understands that the Court’s entry of a plea of Not Guilty will conclude the arraignment
in this case.


DATE:     April 6, 2022                   /s/ Adam Dippel
                                          Attorney for Defendant

INDICATE DEFENDANT’S LANGUAGE:
[X] ENGLISH
[ ] SPANISH
[ ] OTHER
